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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:06CR19
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )                MEMORANDUM
                                              )                 AND ORDER
JUAN VARGAS,                                  )
                                              )
              Defendant.                      )

       This matter is before the Court on the motion filed by the Defendant, Juan Vargas,

to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 (“§ 2255

motion”) (Filing No. 231).

       Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States

District Courts requires initial review of a § 2255 motion, and describes the initial review

process:

       The judge who receives the motion must promptly examine it. If it plainly
       appears from the motion, any attached exhibits, and the record of prior
       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion and direct the clerk to notify the moving party. If the
       motion is not dismissed, the judge must order the United States attorney to
       file an answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

       Judgment was entered on November 8, 2006. The Defendant did not file a direct

appeal until January 31, 2011. The Defendant filed a notice of appeal from the order in

which the Court determined the notice of appeal was untimely. However, on May 10, 2011,

the Eighth Circuit Court of Appeals dismissed the appeal for lack of prosecution. The

Defendant then filed a motion for leave to proceed in forma pauperis without any

accompanying filing, which the Court denied on June 21, 2011. On August 8, 2011, the

§ 2255 motion followed.
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      Under 28 U.S.C. § 2255, a defendant has one year to file a § 2255 motion from “the

date on which the judgment of conviction becomes final.” In this case, the one-year period

began to run on November 27, 2006, the last day the Defendant could have timely filed a

direct appeal. Fed. R. App. P. 4(b)(1)(A)(i), 26(a)(2) & 26(c) (2006); Murray v. United

States, 313 Fed. Appx. 924, at **1 (8th Cir. Mar. 10, 2009) (conviction became final when

the time for filing a notice of appeal expired). Because the Defendant’s § 2255 motion

was filed on August 8, 2011, the motion is untimely.

      IT IS ORDERED:

      1.     The Court has completed the initial review of the Defendant’s motion to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 (Filing No. 231);

      2.     Upon initial review, the Court summarily denies the Defendant's § 2255

motion as untimely, and therefore the motion (Filing No. 231) is summarily denied;

      3.     A separate Judgment will be issued denying the § 2255 motion; and

      4.     The Clerk is directed to mail a copy of this Memorandum and Order to the

Defendant at his last known address.

      DATED this 22nd day of August, 2011.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge




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